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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
Vv. Case No. 1:21-cr-292-RCL
CHRISTOPHER JOHN WORRELL,

Defendant.

 

ORDER
Before the Court is Pretrial Services’ violation report [135]. Pretrial Services alleges that
defendant and his custodian violated the condition of defendant’s release that he not access a
personal computer or the internet. Defendant and his custodian shall file a response on or before
January 14, 2022, explaining what occurred and what steps they heve talon to ensure future
compliance with defendant’s conditions of release.
IT IS SO ORDERED.

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Date: / s/ te Royce C. Lamberth
United States District Judge
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